                                                             Case 21-01167-abl      Doc 86    Entered 06/21/22 12:10:33    Page 1 of 3




                                                       1

                                                       2

                                                       3

                                                       4Entered on Docket
                                      ___________________________________________________________________
                                          June 21, 2022
                                                       5

                                                       6

                                                       7
                                                           Bart K. Larsen, Esq.
                                                       8   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                       9   Nevada Bar No. 14652
                                                           SHEA LARSEN
                                                      10   1731 Village Center Circle, Suite 150
                                                           Las Vegas, Nevada 89134
                                                      11   Telephone: (702) 471-7432
              1731 Village Center Circle, Suite 150




                                                           Fax: (702) 926-9683
                                                      12   Email: blarsen@shea.law
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                    kwyant@shea.law
                        (702) 471-7432




                                                      13
                                                           Attorneys for HASelect-Medical Receivables
                                                      14   Litigation Finance Fund International SP
                                                      15                            UNITED STATES BANKRUPTCY COURT
                                                      16
                                                                                              DISTRICT OF NEVADA
                                                      17
                                                           In re:
                                                      18
                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Case No. 21-14486-abl
                                                      19
                                                                                 Debtor.                       Chapter 7
                                                      20

                                                      21   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                             Adversary Case No. 21-01167-abl
                                                      22   INTERNATIONAL SP,
                                                      23                         Plaintiff,
                                                                                                                      ORDER APPROVING
                                                      24   v.                                                     STIPULATION REGARDING
                                                                                                                 SERVICING AND COLLECTION
                                                      25   TECUMSEH–INFINITY MEDICAL                              OF ACCOUNTS RECEIVABLE
                                                           RECEIVABLES FUND, LP,
                                                      26
                                                                                Defendant.
                                                      27

                                                      28

                                                                                                        -1-
                                                               Case 21-01167-abl        Doc 86       Entered 06/21/22 12:10:33            Page 2 of 3




                                                       1   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       2
                                                                                    Counter-Claimant
                                                       3
                                                           v.
                                                       4
                                                           HASELECT-MEDICAL RECEIVABLES
                                                       5   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP
                                                       6
                                                                                    Counter-Defendant.
                                                       7

                                                       8   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       9   INTERNATIONAL SP,
                                                      10                             Counter-Claimant,
                                                      11   v.
              1731 Village Center Circle, Suite 150




                                                      12   TECUMSEH–INFINITY MEDICAL
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                           RECEIVABLES FUND, LP,
                        (702) 471-7432




                                                      13
                                                                                     Counter-Defendant.
                                                      14

                                                      15
                                                               ORDER APPROVING STIPULATION REGARDING SERVICING AND COLLECTION
                                                      16                           OF ACCOUNTS RECEIVABLE

                                                      17           The Court, having considered the Stipulation Regarding Servicing and Collection of

                                                      18   Accounts Receivable entered into by and between HASelect-Medical Receivables Litigation

                                                      19   Finance Fund International SP (“HASelect”) and Tecumseh-Infinity Medical Receivable Fund,

                                                      20   LP’s (“Tecumseh”) and filed in this Adversary Proceeding at ECF No. 85 (the “Stipulation”), and

                                                      21   good cause appearing, IT IS HEREBY ORDERED:

                                                      22           1.       The Stipulation is APPROVED;

                                                      23           2.       TPL Claims Management, LLC (“TPL”) is hereby authorized and empowered to

                                                      24   take commercially reasonable actions, subject to and as allowed under its agreements with

                                                      25   HASelect and Tecumseh, to effectuate the servicing and collection of the Portfolio1 and to hold

                                                      26   1
                                                            The Portfolio is made up of the accounts receivable described as the “Tecumseh Receivables” in the Sale Order [BK
                                                           ECF No. 184] and in the Amended Declaration of Chad Meyer filed in the Bankruptcy Case at ECF No. 201 and, as
                                                      27   such, includes all accounts receivable identified in “Exhibit A” [BK ECF No. 201-1] and, to the extent marked as
                                                           assigned to Tecumseh, “Exhibit B” [BK ECF No. 201-2] to such declaration.
                                                      28

                                                                                                                 -2-
                                                            Case 21-01167-abl        Doc 86    Entered 06/21/22 12:10:33         Page 3 of 3




                                                       1   the proceeds of the Portfolio in escrow pending the final resolution of all claims and counterclaims

                                                       2   asserted in this Adversary Proceeding as contemplated under such agreements;

                                                       3          3.      Any person obligated as to payment of any account receivable included in the

                                                       4   Portfolio is hereby authorized and directed to remit payment when due directly to TPL at such

                                                       5   location as TPL may instruct;

                                                       6          4.      TPL is hereby authorized to endorse and negotiate any check remitted in payment

                                                       7   of any account receivable included in the Portfolio, including any check made payable to Infinity,

                                                       8   Infinity Health Connection, Infinity Health Solutions, LLC, or Buena Vista Rx; and

                                                       9          5.      This Court shall retain jurisdiction to interpret and enforce the provisions of this

                                                      10   Order and the Stipulation.

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12          IT IS SO ORDERED.
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13
                                                                                                     # # #
                                                      14

                                                      15

                                                      16

                                                      17
                                                           Respectfully submitted:
                                                      18
                                                           SHEA LARSEN
                                                      19
                                                           /s/ Bart K. Larsen, Esq.
                                                      20   BART K. LARSEN, ESQ.
                                                           Nevada Bar No. 8538
                                                      21
                                                           Attorney for HASelect-Medical Receivables
                                                      22   Litigation Finance Fund International SP
                                                      23

                                                      24

                                                      25

                                                      26

                                                      27

                                                      28

                                                                                                          -3-
